Case: 4:24-cv-00336-HEA           Doc. #: 54       Filed: 12/19/24      Page: 1 of 3 PageID #: 303




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

CHARLES SHATTUCK,                                   )
                                                    )
                Plaintiff,                          )
                                                    )
        v.                                          )           No. 4:24-CV-00336 HEA
                                                    )
JASON LEWIS, et al.,                                )
                                                    )
                Defendants.                         )

                             OPINION, MEMORANDUM AND ORDER

        This matter is before the Court upon self-represented plaintiff Charles Shattuck’s motion

for default judgment against defendant Deven Montgomery pursuant to Rule 55(b) of the Federal

Rules of Civil Procedure. 1 [ECF No. 49]. The Court will deny the motion and give plaintiff the

opportunity to file an appropriate motion for default judgment supported by the necessary

documentation.

                                   Motion for Default Judgment

        Defendant Deven Montgomery was served with process on August 30, 2024. [ECF No.

25]. Defendant Montgomery failed to answer or otherwise file a responsive pleading within the

time required by Rule 12 of the Federal Rules of Civil Procedure. Plaintiff subsequently filed a

motion seeking an entry of default against defendant Montgomery. [ECF No. 43]. The motion for

entry of default was granted on December 3, 2024, pursuant to Federal Rule of Civil Procedure

55(a). [ECF No. 46].

        In the motion now before the Court, plaintiff seeks an entry of default judgment against

defendant Montgomery pursuant to Rule 55(b) of the Federal Rules of Civil Procedure. While the


Plaintiff’s motion is titled, “Request for Order to Garnish Wages and Liquidate Assets of Defendant Deven
1

Montgomery.”
Case: 4:24-cv-00336-HEA            Doc. #: 54     Filed: 12/19/24       Page: 2 of 3 PageID #: 304




Clerk’s entry of default against defendant Montgomery was a necessary step before default

judgment may be entered, it does not entitle plaintiff to default judgment as a matter of right. See

Johnson v. Dayton Elec. Mfg. Co., 140 F.3d 781,783 (8th Cir. 1998) (an entry of default from the

Clerk pursuant to Fed. R. Civ. P. 55(a) is a prerequisite to and must precede the grant of a default

judgment under Rule 55(b)). “While a party’s default is deemed to constitute a concession of all

well pleaded allegations of liability, it is not considered an admission of damages.” Greyhound

Exhibitgroup, Inc. v. E.L.U.L. Realty Corp., 973 F.2d 155, 158 (2d Cir. 1992). See also Taylor v.

City of Ballwin, Mo., 859 F.2d 1330, 1333 n.7 (8th Cir. 1988) (where the Clerk has entered default

against a party, it has “no further standing to contest the factual allegations of plaintiff’s claim for

relief.”) (internal citation omitted).

        A default judgment, however, cannot be entered until the amount of the damages has been

ascertained. Hagen v. Sisseton-Wahpeton Cmty. Coll., 205 F.3d 1040, 1042 (8th Cir. 2000). A

party entitled to judgment by default is required to prove the amount of the damages that should

be awarded. Oberster v. Fed. Deposit Ins. Corp., 987 F.2d 494, 505 n.9 (8th Cir. 1993). Such party

must establish, with reasonable certainty, the basis for the damages. See Everyday Learning Corp.

v. Larson, 242 F.3d 815, 818-19 (8th Cir. 2001) (affirming district court’s decision to not award

damages after default judgment hearing where damages were “speculative and not proven by a fair

preponderance of the evidence”).

        Consequently, plaintiff will be given the opportunity to file an appropriate motion for entry

of default judgment pursuant to Rule 55(b) of the Federal Rules of Civil Procedure, should he wish

to do so. If plaintiff chooses to file such a motion, he must establish, with reasonable certainty,

the basis for any damages he seeks because of defendant Montgomery’s conduct. Plaintiff

may file relevant affidavits and/or declarations submitted under penalty of perjury, or other



                                                   2
Case: 4:24-cv-00336-HEA           Doc. #: 54      Filed: 12/19/24       Page: 3 of 3 PageID #: 305




relevant materials. If plaintiff chooses to submit his own affidavit or declaration submitted under

penalty of perjury in support of the motion, he shall limit himself to filing one such affidavit or

declaration. Plaintiff may file the affidavits or declarations of other individuals, if relevant, but he

must avoid submitting any irrelevant material. Although defendant Montgomery is in default, he

may respond to plaintiff’s submissions with respect to the amount of damages.

        At present, the Court does not intend to exercise its discretion to conduct an evidentiary

hearing or take oral testimony on such motion, should plaintiff choose to file it. Instead, the Court

intends to decide the motion based upon plaintiff’s submissions, and any response from defendant

Montgomery, if filed. See Stephenson v. El-Batrawi, 524 F.3d 907, 916 (8th Cir. 2008) (“The need

for a hearing is within the sound discretion of the district court under Fed. R. Civ. P. 55(b)(2)(B).”).

        Accordingly,

        IT IS HEREBY ORDERED that plaintiff’s motion for default judgment [ECF No. 49] is

DENIED without prejudice.

        IT IS FURTHER ORDERED that plaintiff shall, within thirty (30) days of the date of

this Order, file an appropriate motion for default judgment, supported by all necessary affidavits

and documentation, along with an appropriate proposed default judgment for under Rule 55(b)

against defendant Deven Montgomery. Any and all affidavits, declarations signed under penalty

of perjury, or other relevant materials shall be filed together with the motion. Extraneous and

irrelevant material will not be considered.

        Dated this 19th day of December, 2024.



                                                   _______________________________________
                                                         HENRY EDWARD AUTREY
                                                      UNITED STATES DISTRICT JUDGE



                                                   3
